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                                                      U.S. Department of Justice

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      District of Massachusetts

Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      I Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      February 18, 2019

Ben Stechschulte, Esq.
Stechschulte Nell
1105W. Swann Avenue
Tampa, FL 33606

          Re:       United States v. Mark Riddell

Dear Mr. Stechschulte:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, Mark Riddell ("Defendant"), agree as follows:

          1.        Change of Plea

        At the earliest practicable date, Defendant shall waive indictment and plead guilty to an
Infoiniation substantially in the form attached to this Plea Agreement charging him with one count
of conspiracy to commit mail fraud and honest services mail fraud, in violation of Title 18, United
States Code, Section 1349, and one count of conspiracy to commit money laundering, in violation
of Title 18, United States Code, Section 1956. Defendant expressly and unequivocally admits that
he committed the crimes charged in Counts One and Two of the Infounation, did so knowingly,
willfully, and intentionally, and is in fact guilty of those offenses. Defendant also agrees to waive
venue, to waive any applicable statute of limitations, and to waive any legal or procedural defects
in the Information.

          2.        Penalties

         Defendant faces the following maximum penalties on Counts One and Two of the
Information: incarceration for twenty years; supervised release for three years; a fine of $250,000,
or twice the gross gain/loss, whichever is greater; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Information.

      Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant's immigration status if Defendant is not a citizen of the United States. Under federal
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law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant's immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant's automatic removal
from the United States.

       3.      Sentencing Guidelines

        The sentence to be imposed upon Defendant is within the discretion of the District Court
("Court"), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines ("USSG" or
"Guidelines"). While the Court may impose a sentence up to and including the statutory maximum
teun of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

        The parties will take the position that Defendant's total offense level under the USSG (prior
to any adjustment for acceptance of responsibility) is calculated as follows:

               a) in accordance with USSG § 2B1.1(a)(1), Defendant's base offense level is
                  seven, because Defendant is pleading guilty to an offense of conviction that has
                  a statutory maximum term of imprisonment of 20 years or more;

               b) in accordance with USSG § 2B1.1(b)(1)(H), Defendant's offense level is
                  increased by 14, because the intended gain or loss from the offenses of
                  conviction and related conduct is more than $550,000 but not more than
                  $1,500,000; and,

               c) in accordance with USSG § 3B1.3, Defendant's offense level is increased by
                  two, because Defendant was convicted under 18 U.S.C. § 1956.

        The U.S. Attorney reserves the right to oppose Defendant's arguments for a departure from,
or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

       Based on Defendant's prompt acceptance of personal responsibility for the offenses of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant's adjusted offense level
under USSG § 3E1.1.

         The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant's execution of this Plea Agreement and sentencing, Defendant:

               a) Fails to admit a complete factual basis for the plea;

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               b) Fails to truthfully admit Defendant's conduct in the offenses of conviction;

               c) Falsely denies, or frivolously contests, relevant conduct for which Defendant is
                  accountable under USSG § 113;

               d) Fails to provide truthful information about Defendant's financial status;

               e) Gives false or misleading testimony in any proceeding relating to the criminal
                  conduct charged in this case and any relevant conduct for which Defendant is
                  accountable under USSG § 113;

               f) Engages in acts that form a basis for finding that Defendant has obstructed or
                  impeded the administration of justice under USSG § 3 C1.1;

                  Intentionally fails to appear in Court or violates any condition of release;

               h) Commits a crime that is chargeable under the Sentencing Guidelines;

               i) Transfers any asset protected under any provision of this Plea Agreement; or

               j) Attempts to withdraw Defendant's guilty plea.

         Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.




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       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence before the Court:

               a) incarceration at the low end of the Guidelines sentencing range as calculated by
                  the parties in Paragraph 3;

               b) a fine at the low end of the Guidelines sentencing range as calculated by the
                  parties in Paragraph 3, unless the Court finds that Defendant is not able and,
                  even with the use of a reasonable installment schedule, is not likely to become
                  able to pay a fine;

               c) 36 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Court on or before the date of sentencing (unless Defendant establishes
                  to the Court's satisfaction that Defendant is unable to do so); and,

               e) forfeiture as set forth in Paragraph 9.

       Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

       5.      Protection of Assets for Payment of Restitution, Forfeiture and Fine

        Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement.

      Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest without prior express written consent of the U.S. Attorney, except for:

   a) Assets subject to superior, secured interests of innocent third parties, in which Defendant
      has an equity interest of less than $10,000;

   b) Ordinary living expenses necessary to house, clothe, transport, and feed Defendant and
      those to whom Defendant owes a legal duty of support, so long as such assets do not exceed
      $5,000 per month; and

    c) Attorney's fees incurred in connection with this criminal case.

      This prohibition shall be effective as of the date of Defendant's execution of this Plea
Agreement and continue until the fine, forfeiture, and restitution ordered by the Court at sentencing
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are satisfied in full.

       If the U.S. Attorney requests, Defendant further agrees to complete truthfully and
accurately a sworn financial statement and to deliver that statement to the U.S. Attorney within 30
days of signing this Plea Agreement.

        6.       Waiver of Rights to Appeal and to Bring Future Challenge

                 a) Defendant has conferred with his attorneys and understands that he has the right
                    to challenge both his conviction and his sentence (including any orders relating
                    to the terms and conditions of supervised release, fines, forfeiture, and
                    restitution) on direct appeal. Defendant also understands that, in some
                    circumstances, Defendant may be able to argue in a future proceeding
                    (collateral or otherwise), such as pursuant to a motion under 28 U.S.C. § 2255,
                    28 U.S.C. § 2241, or 18 U.S.C. § 3582(c), that Defendant's conviction should
                    be set aside or Defendant's sentence (including any orders relating to the terms
                    and conditions of supervised release, fines, forfeiture, and restitution) set aside
                    or reduced.

                 b) Defendant waives any right to challenge Defendant's conviction on direct
                    appeal or in a future proceeding (collateral or otherwise).

                 c) Defendant agrees not to file a direct appeal or challenge in a future proceeding
                    (collateral or otherwise) any sentence of imprisonment of 41 months or less or
                    any orders relating to the terms and conditions of supervised release, fines,
                    forfeiture, and restitution. This provision is binding even if the Court's
                    Guidelines analysis is different from that set forth in this Plea Agreement.

                 d) The U.S. Attorney likewise agrees that, regardless of the analysis employed by
                    the Court, the U.S. Attorney will not appeal any imprisonment sentence of 33
                    months or more.

                 e) Regardless of the previous sub-paragraphs, Defendant reserves the right to
                    claim that: (i) Defendant's lawyer rendered ineffective assistance of counsel
                    under Strickland v. Washington; or (ii) the prosecutor in this case engaged in
                    misconduct that entitles Defendant to relief from Defendant's conviction or
                    sentence.

        7.       Other Post-Sentence Events

                 a) If, despite the waiver provision of sub-paragraph 6(c), Defendant appeals or
                    challenges in a future proceeding (collateral or otherwise) Defendant's
                    sentence, the U.S. Attorney reserves the right to argue the correctness of the
                    sentence imposed by the Court (in addition to arguing that any appeal or future
                    challenge (collateral or otherwise) is waived as a result of the waiver in sub-
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                   paragraph 6(c)).

               b) If, despite the waiver provision of sub-paragraph 6(c), Defendant seeks re-
                  sentencing, Defendant agrees not to seek to be re-sentenced with the benefit of
                  any change to the Criminal History Category that the Court calculated at the
                  time of Defendant's original sentencing, except to the extent that Defendant has
                  been found actually factually innocent of a prior crime.

               c) In the event of a re-sentencing following an appeal from or future challenge
                  (collateral or otherwise) to Defendant's sentence, the U.S. Attorney reserves the
                  right to seek a departure from and a sentence outside the USSG if, and to the
                  extent, necessary to reinstate the sentence the U.S. Attorney advocated at
                  Defendant's initial sentencing pursuant to this Plea Agreement.

       8.      Court Not Bound by Plea Agreement

       The parties' sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant's plea will be tendered pursuant to Fed. R. Crim. P. 11(c)(1)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties' USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attorney's USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court's calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

       9.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant's guilty plea,
enter an order of forfeiture as part of Defendant's sentence, and that the order of forfeiture, which
may be satisfied at any time prior to sentencing, may include assets directly traceable to
Defendant's offenses, substitute assets and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

       The assets to be forfeited specifically include the following:


               a. $239,449.42 in United States currency, to be entered in the form of an Order of
                  Forfeiture (Money Judgment).

        Defendant admits that the $239,449.42 in United States currency is subject to forfeiture on
the grounds that it is approximately equal to the amount of proceeds the Defendant obtained
(directly or indirectly) as a result of the offenses.

       Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating property
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and/or property involved in, the crimes to which Defendant is pleading guilty and that, due at least
in part to the acts or omissions of Defendant, the proceeds or property have been transferred to, or
deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as "substitute assets" any other assets of Defendant up to the
value of the now missing directly forfeitable assets.

        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant's assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney's Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

       10.     Information for Presentence Report

       Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant's assets.




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       11.     Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant's conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

       12.     Rejection of Plea by Court

       Should Defendant's guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn On Defendant's motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

       13.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any material
provision of this Plea Agreement, has violated any condition of Defendant's pretrial release, or has
committed any crime following Defendant's execution of this Plea Agreement, the U.S. Attorney
may, at his sole option, be released from his commitments under this Plea Agreement in their
entirety by notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may
also pursue all remedies available to him under the law, regardless whether he elects to be released
from his commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and
all charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant's guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

       14.     Who is Bound by Plea Agreement

        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

        15.    Modifications to Plea Agreement

       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.



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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Eric S. Rosen.

                                            Very truly yours,

                                            ANDREW E. LELLING
                                            United States Attorney


                                    By:
                                            SAPHEN E. FRANK
                                            Chief, Securities and Financial Fraud Unit
                                            JORDI DE LLANO
                                            Deputy Chie Securities and Financial Fraud Unit



                                            ERIC S. ROSEN
                                            Assistant U.S. Attorney




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                       ACKNOWLEDGMENT OF PLEA AGREEMENT
        I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney's Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the maximum penalties for those offenses, and the Sentencing Guideline penalties
potentially applicable to them. I am satisfied with the legal representation provided to me by my
attorney. We have had sufficient time to meet and discuss my case. We have discussed the charges
against me, possible defenses I might have, the terms of this Plea Agreement and whether I should
go to trial. I am entering into this Plea Agreement freely, voluntarily, and knowingly because I
am guilty of the offenses to which I am pleading guilty, and I believe this Plea Agreement is in my
best interest.



                                                  Mark Riddel
                                                  Defendant

                                                  Date:          t/oRc2//?
       I certify that Mark Riddell has read this Plea Agreement and that I have discussed its
meaning with him. I believe he understands the Plea Agreement and is entering into the Plea
Agreement freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not
extended any other offers regarding a change of plea in this case.



                                                  Ben Stechschulte, Esq.
                                                  Attorney for Defendant

                                                  Date:          2-72- 2-   /




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